 Mr. Justice McDonald delivered the opinion of the court. Abstract of the Decision. 1. Contracts, § 387*—when evidence insufficient to show fulfill•ment of contract by saloon keeper for purchase of beer and use of bar fixtures. • In an action for the return of money deposited pursuant to a contract under which the defendant installed fixtures and plumbing in the plaintiffs’ saloon, and plaintiffs agreed to sell the defendant’s beer exclusively for a period of two years, and for damages sustained for breach of the contract, where the deposit money was to he returned to the plaintiffs with interest at the expiration of said two years in the event of a compliance with such contract, and it appeared that there were some objections to the fixtures furnished but that they were usable, and plaintiffs ordered the defendant to remove the fixtures and they did so, and plaintiffs discontinued doing business after the expiration of about six months after entering into the contract because of their failure to procure a license and not because of any breach of contract by the defendant, held that the fulfillment of the contract by the plaintiffs was a condition precedent to their right of recovery of the deposit, and that they failed to make such proof. 2. Contracts, § 294*—when performance by plaintiffs is essential to recovery for breach. In an action to recover money deposited with the defendant, where such money was deposited under a contract providing that the same should he returned in the event that the plaintifs should, during the period specified, purchase the beer of the defendant exclusively during the period and in the quantity specified, held that the fulfillment of such contract by the plaintiffs was a' condition precedent to a right of recovery of such deposit and for damages for breach of the contract, and that the fact that the fixtures were defective could not be taken advantage of by the plaintiffs to strengthen their case. 